                          Case 8:24-bk-05243-CPM           Doc 17   Filed 11/06/24       Page 1 of 2
[Dntchrg] [District Notice of Hearing (Reaf)]
                                                UNITED STATES BANKRUPTCY COURT
                                                   MIDDLE DISTRICT OF FLORIDA
                                                         TAMPA DIVISION



In re:                                                                        Case Number:
                                                                              8:24−bk−05243−CPM
                                                                              Chapter 13

Xavier Charles Alexander Washington II
aka Xavier Charles Washington II




                          Debtor*                     /

                                                      NOTICE OF HEARING


           PLEASE TAKE NOTICE:

           1. The Honorable Catherine Peek McEwen will conduct a non−evidentiary hearing on November
           25, 2024 at 02:00 PM in Courtroom 8B, Sam M. Gibbons United States Courthouse, 801 N.
           Florida Avenue, Tampa, FL 33602 to consider the following:

                   Motion by United States Trustee to Dismiss Case with Injunction (Document No. 15).


           2. All parties may attend the hearing in person. Parties are directed to review Judge McEwen's
           Procedures Governing Court Appearances (available at
           https://www.flmb.uscourts.gov/judges/mcewen) for her policies and procedures for remote
           attendance at hearings by video or telephone via Zoom.

           3. A party that opposes the relief sought in the matter to be heard must appear at the hearing;
           otherwise, any objection or defense may be deemed waived.

           4. The Court may continue this matter upon announcement made in open court and reflected on the
           docket without further written notice.

           Avoid delays at Courthouse security checkpoints. You must show a photo I.D. to enter the
           Courthouse. Except in the Orlando Courthouse, you may not bring a cell phone or a computer into
           the Courthouse unless you are an attorney with a valid Florida Bar identification card or a pro hac
           vice order, or the presiding judge has entered a specific order authorizing you to bring your cell
           phone or computer into the Courthouse. See Rule 7.02 of the Local Rules of the United States District
           Court for the Middle District of Florida and Rule 5073−1 of this Court's Local Rules.

           Dated November 6, 2024

                                                                                                FOR THE COURT
                                                                                                  Sheryl L. Loesch,
                                                                                                      Clerk of Court
                                                                            Sam M. Gibbons United States Courthouse
                                                                                          801 North Florida Avenue
                                                                                                           Suite 555
                                                                                                  Tampa, FL 33602
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*All references to "Debtor" include and refer to both the debtors in a case filed jointly by two individuals.
The Clerk's office is directed to serve a copy of this Notice on interested parties.
